     Case 2:09-cr-00592-BRM     Document 31 Filed 11/26/12   Page 1 of 3 PageID: 108
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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

   UNITED STATES OF AIERICA              ;   Hon. Jose . Linares

              V.                         : Cnn. No. 09-592 (JLL)

   MYFIT DIKA                            ;   CONTINUANCE ORDER



                This matter having come before the Court on the joint

    application of Paul J. Fishman, United States Attorney for the

    District of New Jersey (David E. Malagold, Assistant U.S.

    Attorney, appearing), and defendant Myf it Dika (Peter Willis,

    Esq., appearing), for an order granting a continuance of the

    proceedings in the above-captioned matter through and including

    January 15, 2013, and the defendant being aware that he has the

    right to have the matter brought to trial within 70 days of the

    date of his appearance before a judicial officer of this court

    pursuant to Title 18 of the United States Code, Section

    3161(c) (1), and as the defendant has consented to such a

    continuance, and for good and sufficient cause shown,

                IT IS THE FINDING OF THIS COURT that this action should

    be continued for the following reasons:

                1.   Plea negotiations are currently in progress, and

    both the United States and the defendant desire additional time

    to finalize a plea agreement, which would render trial of this

    matter unnecessary;
       Case 2:09-cr-00592-BRM Document 31 Filed 11/26/12      Page 2 of 3 PageID: 109
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                2.    The defendant has consented to the aforementioned

     continuance;

                3.    This case involves a large volume of discovery

     which the Government is compiling from its archives and copy

     service.   This process of recreating previous discovery will take

     a significant amount of time because defendant was out of the

     country as a fugitive and pending extradition for a number of

     years;

                4.    Pursuant to Title 18 of the United States Code,

     Section 3161(h) (8), the ends of justice served by granting the

     continuance outweigh the best interests of the public and the

     defendant in a speedy trial.        ,-,


                                         LiT
                WHEREFORE, on this             I   day november, 2012,

                IT IS ORDERED that this action be, and hereby is,

      continued through and including January 15, 2013; and it is

      further

                 ORDERED that the period from and including the date of

      this Order, through and including January 15, 2013, shall be

      excludable in computing time under the Speedy Trial Act of 1974,

      pursuant to Title 18, United States Code, Section 3161(h) (8); and

      it is further
 Case 2:09-cr-00592-BRM      Document 31   Filed 11/26/12   Page 3 of 3 PageID: 110
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          ORDERED that the calendar for this matter shall be

revised as follows:

                Defense motions:

               Opposition        //Z ‘72 ci 1
                Reply:       / /3 ik / Z
               Motions hearing: To be set

                Trial: January 15, 2013


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                                       HON. JOSE L. LINARES
                                       United States District Judge




Counsel for           Dika
